                                                                                                                                          Entered on Docket
                                                                                                                                          October 29, 2020
                                                                                                                                          EDWARD J. EMMONS, CLERK
                                                                                                                                          U.S. BANKRUPTCY COURT
                                                                                                                                          NORTHERN DISTRICT OF CALIFORNIA


                                                                                              1 Mark S. Bostick (Bar No. 111241)
                                                                                                Lisa Lenherr (Bar No. 258091)           The following constitutes the order of the Court.
                                                                                              2 WENDEL ROSEN LLP                        Signed: October 29, 2020
                                                                                                1111 Broadway, 24th Floor
                                                                                              3 Oakland, California 94607-4036
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                                                                                                Attorneys for Lois I. Brady, Trustee
                                                                                              6                                          ______________________________________________
                                                                                                                                         Roger L. Efremsky
                                                                                              7                                          U.S. Bankruptcy Judge

                                                                                              8

                                                                                              9                           UNITED STATES BANKRUPTCY COURT

                                                                                             10                            NORTHERN DISTRICT OF CALIFORNIA

                                                                                             11                                        OAKLAND DIVISION

                                                                                             12 In re                                              Case No. 20-40990-RLE
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                                                                                             13 FAIRN & SWANSON, INC.                              Chapter 7

                                                                                             14                                                    ORDER ON MOTION FOR ORDER (A)
                                                                                                                      Debtor.                      APPROVING SALE TO SUCCESSFUL
                                                                                             15                                                    BIDDER FREE AND CLEAR OF ALL
                                                                                                                                                   LIENS AND INTERESTS; (B)
                                                                                             16                                                    APPROVING ASSUMPTION AND
                                                                                                                                                   ASSIGNMENT OF CERTAIN
                                                                                             17                                                    EXECUTORY CONTRACTS AND
                                                                                                                                                   UNEXPIRED LEASES; (C) FINDING
                                                                                             18                                                    SUCCESSFUL BIDDER IS A GOOD
                                                                                                                                                   FAITH PURCHASER WITHIN THE
                                                                                             19                                                    MEANING OF 11 U.S.C. § 363(M); (D)
                                                                                                                                                   APPROVING BACK-UP BIDDER (IF
                                                                                             20                                                    ANY); (E) AUTHORIZING AND
                                                                                                                                                   APPROVING PAYMENTS FROM SALE
                                                                                             21                                                    PROCEEDS; (F) WAIVING ANY STAY
                                                                                                                                                   OF ORDER; AND (G) OTHER RELATED
                                                                                             22                                                    RELIEF

                                                                                             23                                                    LIENHOLDERS OR INTEREST
                                                                                                                                                   HOLDERS:
                                                                                             24                                                    WELLS FARGO BANK, N.A.;
                                                                                                                                                   DIAGEO (DISPUTED); AND
                                                                                             25                                                    WHYTE & MACKEY (DISPUTED)

                                                                                             26                                                    Date:               October 27, 2020
                                                                                                                                                   Time:               2:00 p.m. PT
                                                                                             27
                                                                                                                                                   Place:              By video
                                                                                             28                                                    Judge:              The Hon. Roger L.
                                                                                                                                                   Efremsky

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                                                                                              1           A hearing on the Motion for Order (A) Approving Sale to Successful Bidder Free and

                                                                                              2 Clear of All Liens and Interests; (B) Approving Assumption and Assignment of Certain Executory

                                                                                              3 Contracts and Unexpired Leases; (c) Finding Successful Bidder is a Good Faith Purchaser Within

                                                                                              4 the Meaning of 11 U.S.C. § 363(m); (d) Approving Back-Up Bidder (if any); (E) Authorizing and

                                                                                              5 Approving Payments from Sale Proceeds; (F) Waiving any Stay of Order; and (G) Other Related

                                                                                              6 Relief (the “Motion”)1, filed by Lois I. Brady, the duly appointed and acting Chapter 7 trustee

                                                                                              7 (“Trustee”) in the above-captioned Fairn & Swanson, Inc. ("Debtor") Chapter 7 bankruptcy case,

                                                                                              8 was held before this Court on October 26 and 27, 2020 (the "Sale Hearing"); appearances were as

                                                                                              9 noted on the record.

                                                                                             10           Having considered the Motion and all related pleadings, any opposition thereto, and the

                                                                                             11 arguments of counsel,

                                                                                             12           THE COURT FINDS THAT:
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                                                                                             13           A.     Notice of the Motion was proper and adequate.

                                                                                             14           B.     AAC Acquisition Company, LLC (“AAC”) has acted good faith and is entitled to

                                                                                             15 the protections of Section 363(m) of the Bankruptcy Code.

                                                                                             16           C.     After an auction conducted by Trustee on October 22, 2020, Trustee identified and

                                                                                             17 accepted the final offer of H.K. Global Trading, Ltd. (directly, or through its assignee Ariva

                                                                                             18 International, Ltd., "H.K. Global") as the Winning Bidder. During the Sale Hearing, H.K. Global

                                                                                             19 advised the Court that it will not proceed to consummate its winning bid. Trustee was otherwise

                                                                                             20 ready, willing and able (subject to entry of this Order) to consummate the offer from H.K. Global.

                                                                                             21           D.     Trustee also identified a Back-Up Bid from ACC at such auction, and AAC

                                                                                             22 confirmed at the Sale Hearing that it is prepared to consummate its Back-Up Bid.

                                                                                             23           Based on the foregoing and the findings and conclusions stated orally in the record, and

                                                                                             24 good cause appearing therefore,

                                                                                             25           IT IS HEREBY ORDERED THAT:

                                                                                             26           1.     The notice of the Motion and the hearing thereon is approved as proper and

                                                                                             27
                                                                                                1
                                                                                                  Unless otherwise defined herein, all capitalized terms used as defined terms in this Order shall
                                                                                             28 have the meanings given thereto in the Motion.


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                                                                                              1 adequate under the circumstances.

                                                                                              2           2.      The Motion is granted as set forth herein.

                                                                                              3           3.      Trustee is authorized to sell substantially all of the bankruptcy estate's (the

                                                                                              4 "Estate") assets as more particularly described in section 4 of the Back-Up Bid from AAC in the

                                                                                              5 amount of $8,912,961.002 and otherwise substantially in accordance with the terms and conditions

                                                                                              6 that are set forth in the Purchase and Sale Agreement between AAC Acquisition Company, LLC

                                                                                              7 and Trustee which is attached to the Motion as Exhibit B(ii) (the "AAC APA"), filed as Docket

                                                                                              8 No. 137, on October 27, 2020. In all events, the specific assets sold by Trustee to AAC shall be

                                                                                              9 herein defined as the "Sale Assets," and AAC as purchaser under the AAC APA shall be herein be

                                                                                             10 defined as the "Buyer."

                                                                                             11           4.      Trustee is authorized to pay the undisputed liens or claims of Wells Fargo Bank,

                                                                                             12 N.A. ("Wells Fargo"), as described in paragraphs 11 and 12 below at "Closing" (as defined in
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                                                                                             13 AAC APA) of such sale of the Sale Assets.

                                                                                             14           5.      Subject to paragraph 6, pursuant to Section 363(f) of the Bankruptcy Code,

                                                                                             15 effective upon Closing, such sale of the Sale Assets will vest in the Buyer all right, title and

                                                                                             16 interest of the Debtor and the Estate in the Sale Assets, free and clear of the liens, claims or

                                                                                             17 interests listed below (collectively, the “Affected Interests”):

                                                                                             18           •    Wells Fargo Bank, N.A. (perfected security interest in "all assets of Debtor");
                                                                                             19           •    Diageo Brands BV, Diageo North America, Inc., and Diageo Scotland Limited
                                                                                                               ("Diageo) (unperfected security interest on all Diageo inventory held by Debtor ); and
                                                                                             20
                                                                                                          •    Whyte & Mackay (unperfected security interest on 10 cases of Dalmore Highland
                                                                                             21                Single Malt Scotch Whisky—12 Year Old; 300 cases of Fundador Brandy and 900
                                                                                                               cases of Glen Stag Scotch Whiskey).
                                                                                             22

                                                                                             23           6.      Subject to Paragraph 22 below, the Affected Interests shall attach to the proceeds of

                                                                                             24 the sale (the "Sale Proceeds") with the same force, effect, validity and priority that previously

                                                                                             25 existed against the Sale Assets.

                                                                                             26           7.      This Order is and shall be effective as a determination that, upon and subject to the

                                                                                             27
                                                                                                2
                                                                                                  $8,840,000.00 plus $72,961.00 (the total amount of all security deposits held by the landlord of
                                                                                             28 each Assumed Lease (defined in Back-Up Bid)).


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                                                                                              1 occurrence of the Closing, all Affected Interests have been and hereby are adjudged and declared

                                                                                              2 to be unconditionally released as to the Sale Assets.

                                                                                              3             8.     Buyer has not assumed any liabilities of the Debtor, other than as described in

                                                                                              4 section 4.3 of the AAC APA.

                                                                                              5             9.     Trustee or her designee is authorized to execute any such releases, termination

                                                                                              6 statements, assignments, consents, withdrawals or instruments on behalf of any third party,

                                                                                              7 including the holders of any liens, claims or interests identified in paragraph 5 of this Order, that

                                                                                              8 are necessary or appropriate to effectuate or consummate the sale of the Sale Assets.

                                                                                              9             10.    In the event that Duty Free Americas, Inc. (“DFA”) or Fairn & Swanson Holdings,

                                                                                             10 Inc. ("FS Holdings") fail to perform the promises made prior to and at the auction related to all

                                                                                             11 trademark applications and trademark registrations with regards to marks for "Fairn and

                                                                                             12 Swanson," "Fairn & Swanson" and "Baja Duty Free" including, without limitation, applications
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                                                                                             13 for trademark registrations bearing serial numbers 90085380, 90085159 and 90041167 filed with

                                                                                             14 the United States Patent and Trademark Office (the "USPTO") (i.e., the agreement to cause the

                                                                                             15 express and unequivocal abandonment of those applications and registrations with the USPTO and

                                                                                             16 all other applicable jurisdictions and governing authorities within three (3) days after entry of this

                                                                                             17 Order), then Trustee shall and is hereby authorized to seek relief (on motion, order to show cause

                                                                                             18 or other proceeding) to compel such abandonment, determine that such applications are void,

                                                                                             19 and/or seek damages.

                                                                                             20             11.    From the Sale Proceeds Trustee is authorized to retain (the "Retained Sale

                                                                                             21 Proceeds") (a) an amount equal to the "Appeal Reserve" as defined in and subject to the terms of

                                                                                             22 Paragraph 22 below; and (b) an amount equal to the accrued and unpaid "Estate Payment" (as

                                                                                             23 defined in the Pre-Sale Stipulation)3 at the time of Closing) plus unpaid items in the Budget

                                                                                             24 (defined in the Pre-Sale Stipulation) as may be supplemented from time to time). Subject to

                                                                                             25 Trustee's remittance of the amount described in Paragraph 12 herein, Trustee is authorized use the

                                                                                             26 Retained Sale Proceeds (other than the Appeal Reserve) to pay the following amounts, subject to

                                                                                             27

                                                                                             28   3
                                                                                                      (Pre-Sale Stipulation, filed as Docket No. 87 on Sept. 15, 2020.)

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                                                                                              1 and in accordance with the Pre-Sale Stipulation:

                                                                                              2                  (a)    All "Pre-Stipulation Accruals" (as defined in the Pre-Sale Stipulation);

                                                                                              3                  (b)    The "Professionals' Carveout" and "Trustee's Carveout" (as defined in the

                                                                                              4 Pre-Sale Stipulation) (both to be paid only following further Court order);

                                                                                              5                  (c)    A sum of five-hundred thousand dollars ($500,000) for distribution to

                                                                                              6 holders of claims other than Wells Fargo (to be held for distribution at the end of the case); and

                                                                                              7                  (d)    All administrative expenses actually incurred by Trustee on or after

                                                                                              8 September 1, 2020, through and including the earliest "Termination Event" (as defined in the Pre-

                                                                                              9 Sale Stipulation and as amended pursuant to Paragraph 14 herein) to the extent contained in the

                                                                                             10 "Budget" (as defined in the Pre-Sale Stipulation and as supplemented from time to time),

                                                                                             11 including but not limited to post-petition rent for the Prologis Premises (as defined herein) until

                                                                                             12 such time that the lease is rejected. For the avoidance of doubt, the Debtor remains obligated to
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                                                                                             13 comply with all terms of the lease between the Debtor and Prologis, including the timely payment

                                                                                             14 of rent, as required by section 365 of the Bankruptcy Code until the lease is otherwise assumed or

                                                                                             15 rejected and such compliance is independent of the AAC APA or any other agreement between

                                                                                             16 Trustee, Buyer and/or Wells Fargo.

                                                                                             17           12.    Within one (1) business day after receipt of the Sale Proceeds, Trustee is authorized

                                                                                             18 and directed to remit the Sale Proceeds less only the Retained Sale Proceeds to Wells Fargo

                                                                                             19 pursuant to wire instructions to be specified by Wells Fargo, and Wells Fargo may apply such Sale

                                                                                             20 Proceeds to the outstanding "Postpetition Financing" and the outstanding "WFB Claim" (in such

                                                                                             21 order as Wells Fargo elects) subject to and as such terms are defined in the Pre-Sale Stipulation

                                                                                             22 and the Final Order (defined in the Pre-Sale Stipulation).

                                                                                             23           13.    The Court will promptly hear and determine any disagreement between Trustee and

                                                                                             24 Wells Fargo concerning the reconciliation of the amounts to be paid or retained pursuant to

                                                                                             25 Paragraphs 11 and 12 above.

                                                                                             26           14.    Pre-Sale Stipulation.

                                                                                             27                  (a)    The date referenced in paragraph 8(a)(iv) of the Pre-Sale Stipulation shall

                                                                                             28 be deemed amended to be October 29, 2020.


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                                                                                              1                 (b)     The date referenced in paragraph 8(a)(i) of the Pre-Sale Stipulation shall be

                                                                                              2 deemed amended to strike October 31, 2020, and be replaced with “the date that substantially all

                                                                                              3 obligations of Trustee under the AAC APA (as in effect at the time of its Closing) have been

                                                                                              4 completed or waived or are excused (including, without limitation, excused on account of a

                                                                                              5 material breach by the Buyer of its Post-Closing Obligations (defined in AAC APA) to Trustee)”.

                                                                                              6                 (c)     A new "Termination Event" under the Pre-Sale Stipulation shall be deemed

                                                                                              7 to have occurred (a) upon written notice from Wells Fargo to Trustee if the Buyer has materially

                                                                                              8 breached the AAC APA by failing to pay rent amounts when due thereunder, or (b) on the fifth

                                                                                              9 (5th) day after written notice from Wells Fargo to Trustee if the Buyer has materially breached the

                                                                                             10 AAC APA in any other regard and has failed to cure that breach.

                                                                                             11                 (d)     Wells Fargo shall promptly return Sale Proceeds to Trustee to the extent

                                                                                             12 necessary to pay any amounts in the Budget or to pay "Post-Closing Obligations" (as defined in
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                                                                                             13 the AAC APA), in both cases to the extent that Buyer fails or is not required to pay such amounts

                                                                                             14 that are incurred or committed by Trustee prior to a Termination Event. Trustee shall make best

                                                                                             15 efforts to invoice Buyer for payment not less than every two (2) weeks for Post-Closing

                                                                                             16 Obligations, concurrently send Wells Fargo a copy of each such invoice and notify Wells Fargo as

                                                                                             17 soon as reasonably possible after a failure by Buyer to pay any invoiced Post-Closing Obligations.

                                                                                             18 Wells Fargo will also remit to Trustee the Sale Proceeds subject to the interest of Whyte &

                                                                                             19 MacKay (if any) to the extent the Court determines Wells Fargo's interests therein are junior to

                                                                                             20 those of Whyte & MacKay.

                                                                                             21                 (e)     Paragraph 8(b) of the Pre-Sale Stipulation shall be deemed amended to

                                                                                             22 insert the following sentence at the end thereof: "Within thirty (30) days after the occurrence of a

                                                                                             23 Termination Event, Trustee will provide Wells Fargo with a final reconciliation of the use Cash

                                                                                             24 Collateral, including Sale Proceeds, and remit to Wells Fargo any amounts then held that are in

                                                                                             25 excess of the Budget or Post-Closing Obligations that have accrued or have been committed to

                                                                                             26 prior to such Termination Event."

                                                                                             27                 (f)     Paragraph 6 of the Pre-Sale Stipulation shall be deemed amended to insert

                                                                                             28 the following sentence at the end thereof: "Other than the Retained Sale Proceeds, Trustee shall


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                                                                                              1 promptly remit all Cash Collateral or other proceeds of assets subject to Wells Fargo's Postpetition

                                                                                              2 Liens to Wells Fargo following Trustee's receipt; provided, that, in the case of the good faith

                                                                                              3 deposit from H.K. Global, Trustee shall not be required to remit such amounts to Wells Fargo until

                                                                                              4 further order of court or agreement of the parties."

                                                                                              5           15.    Trustee is hereby authorized to execute the AAC APA (including, without

                                                                                              6 limitation, immaterial amendments or modifications thereto), or other related documents that are

                                                                                              7 reasonably necessary or appropriate to complete the sale, and to undertake such other actions as

                                                                                              8 may be reasonably necessary or appropriate to complete the sale authorized hereby.

                                                                                              9           16.    Except as otherwise provided in the Motion and the AAC APA, the Sale Assets

                                                                                             10 shall be sold, transferred, and delivered to Buyer on an “as is, where is” or “with all faults” basis.

                                                                                             11           17.    AAC is approved as a buyer in good faith in accordance with Section 363(m) of the

                                                                                             12 Bankruptcy Code, and ACC as Buyer shall be entitled to all protections of Section 363(m) of the
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                                                                                             13 Bankruptcy Code.

                                                                                             14           18.    This Order shall be effective immediately upon entry. No automatic stay of

                                                                                             15 execution, pursuant to Rule 62(a) of the Federal Rules of Civil Procedure, or Bankruptcy Rules

                                                                                             16 6004(h) or 6006(d), applies with respect to this Order.

                                                                                             17           19.    This Court retains jurisdiction to enforce and implement the terms and provisions

                                                                                             18 of this Order and the purchase agreement, all amendments thereto, any waivers and consents

                                                                                             19 thereunder, and each of the documents executed in connection therewith in all respects, including

                                                                                             20 retaining jurisdiction to (a) compel delivery of the Sale Assets to the Buyer, (b) resolve any

                                                                                             21 disputes arising under or related to the purchase agreement, and (c) resolve any disputes regarding

                                                                                             22 liens, claims, or interests asserted against the Sale Assets.

                                                                                             23           20.    The AAC APA and any related documents or other instruments may be modified,

                                                                                             24 amended or supplemented by the parties thereto, in a writing signed by both parties without

                                                                                             25 further order of the Court, provided that any such modification, amendment or supplement does

                                                                                             26 not have a material adverse effect on the Estate or Wells Fargo.

                                                                                             27           21.    Assumption and Assignment of Unexpired Leases: With respect to the request to

                                                                                             28 assume and assign the unexpired leases identified in Schedule 4.1.7 (Designated Leases) of the


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                                                                                              1 AAC APA:

                                                                                              2                  (a)    Subject to paragraph 21(c) below, the requirements of section 365 are

                                                                                              3 satisfied;

                                                                                              4                  (b)    The Cure Amounts (defined in AAC APA) listed on Schedule 5.1 of the

                                                                                              5 applicable AAC APA are accurate through October 26, 2020 (per diem to accrue for any day after

                                                                                              6 October 26, 2020), and any payment of the Cure Amounts by Trustee on any lease that is assigned

                                                                                              7 to Buyer shall be reimbursed to Trustee by Buyer on or before the applicable "Assumption and

                                                                                              8 Assignment Date" (as defined in AAC APA). ;

                                                                                              9                  (c)     Conditioned upon the occurrence of the applicable Assumption and

                                                                                             10 Assignment Date (as defined in the AAC APA) and without further Court order, Trustee is

                                                                                             11 authorized to assume and assign to Buyer the unexpired leases identified in Schedule 4.1.7 of the

                                                                                             12 AAC APA provided that:
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                                                                                             13                         (i)      Trustee shall provide the landlord of each respective location to be

                                                                                             14 assumed and assigned ten (10) business days advance notice of the assumption and assignment of

                                                                                             15 the lease to provide the landlord the opportunity to assert any additional cure amounts.

                                                                                             16                         (ii)     If landlord does not object within such ten (10) business day period,

                                                                                             17 landlord will be barred from asserting and will be deemed to have waived any additional cure

                                                                                             18 amounts with respect to such leased premises and Trustee may assume and assign such lease to

                                                                                             19 Buyer.

                                                                                             20                         (iii)    If landlord objects to the assignment or desires to assert any

                                                                                             21 additional cure amount and parties are unable to agree on the additional cure amount, the parties

                                                                                             22 shall be entitled to set a hearing to consider such matters on no less than five (5) business days'

                                                                                             23 notice.

                                                                                             24                         (iv)     Any cure amount shall be paid to the respective landlord

                                                                                             25 contemporaneously with the assumption and assignment.

                                                                                             26           22.    Diageo Objection. The objection to the sale filed by Diageo Brands NV, Diageo

                                                                                             27 North America, Inc. and Diageo Scotland Limited (collectively, “Diageo”) is resolved on the

                                                                                             28 following terms:


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                                                                                              1                 (a)     From the Sale Proceeds, $1,500,000.00 will be segregated and held by

                                                                                              2 Trustee and not used other than as expressly set forth in this Paragraph 22 (the "Appeal Reserve").

                                                                                              3                 (b)     The liens, claims and other interests of Trustee, Diageo and Wells Fargo

                                                                                              4 (including, without limitation, as asserted by the parties in Adversary Proceeding 20-04304 in this

                                                                                              5 case (the “Adversary Proceeding”)) will attach to the Appeal Reserve with the same extent,

                                                                                              6 validity and priority as existed with respect to the Sale Assets. The Appeal Reserve shall not be

                                                                                              7 subject to claims under Section 506(c) of the Bankruptcy Code nor charged for any costs of

                                                                                              8 administration of the Estate.

                                                                                              9                 (c)     Subject to preservation and non-waiver of all of Diageo’s rights in the

                                                                                             10 Adversary Proceeding and its appeal of this Court’s order in the Adversary Proceeding (Docket

                                                                                             11 No. 29, the "Adversary Judgment"), Diageo does not oppose the Motion or the sale of “Diageo

                                                                                             12 Product” (as used in the Adversary Proceeding) by Trustee to the Buyer, and Diageo will not seek
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                                                                                             13 to stay such sale pending its appeal of the Adversary Judgment.

                                                                                             14                 (d)     Wells Fargo and Diageo each agree that for satisfaction of their respective

                                                                                             15 rights, claims and interests in the Diageo Product as asserted in the Adversary Proceeding, each

                                                                                             16 shall seek recovery solely from the Appeal Reserve; provided, that the foregoing shall not

                                                                                             17 prejudice Trustee's or Wells Fargo's rights to the other Sale Proceeds (i.e., other than the Appeal

                                                                                             18 Reserve) as set forth elsewhere in this Order.

                                                                                             19                 (e)     The sale of the Diageo Products by Trustee pursuant to this Order and

                                                                                             20 Buyer's subsequent use of such goods will be afforded the protection of the “first sale doctrine” as

                                                                                             21 referenced in the Adversary Judgment.

                                                                                             22                 (f)     To the extent the relief in this Paragraph 22 conflicts with the Pre-Sale

                                                                                             23 Stipulation, this Order shall control.

                                                                                             24                 (g)     Within two (2) business days after receipt of an "Appeal Resolution

                                                                                             25 Instruction" (defined below), Trustee will remit all or portion(s) of the Appeal Reserve as set forth

                                                                                             26 in such Appeal Resolution Instruction. For purposes hereof, an Appeal Resolution Instruction

                                                                                             27 shall mean a final and non-appealable order from a court of competent jurisdiction determining the

                                                                                             28 matters addressed by the Adversary Judgment, or a written instruction signed by both Wells Fargo


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                                                                                               1 and Diageo regarding a compromise of their respective interests in the Appeal Reserve.

                                                                                               2           23.    Nothing contained herein shall prevent Trustee and Buyer from assuming and

                                                                                               3 assigning any executory contract not addressed herein (provided any cure amount is payable by

                                                                                               4 Buyer), upon notice to the non-debtor contracting party and an opportunity for a hearing thereon.

                                                                                               5           24.    Buyer shall not remove or damage any property not purchased by it under the AAC

                                                                                               6 APA and, in this regard, shall cooperate with the landlords of Debtor's premises to identify and

                                                                                               7 safeguard such landlord's property while Buyer is removing the Sale Assets from Debtor's

                                                                                               8 premises.

                                                                                               9           25.    In order to facilitate such cooperation and to allow Prologis, L.P. (“Prologis”) as

                                                                                              10 the Debtor’s landlord in the building located at 701 NW 33rd Street Building 300, Suite 150,

                                                                                              11 Pompano Beach, Florida (the “Prologis Premises”), to market the Prologis Premises and mitigate

                                                                                              12 its damages resulting from rejection of the lease with Debtor, Trustee shall consent to and
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                                                                                              13 cooperate with these efforts and arrange for supervised access. Any such access shall be provided

                                                                                              14 at mutually acceptable times, during normal business hours, in compliance with applicable

                                                                                              15 customs regulations, the terms of the lease and be arranged to avoid interference with

                                                                                              16 consummation of Buyer's access and removal of assets pursuant to the AAC APA.

                                                                                              17           26.    Nonresidential real property leases for Non-Assumed Locations are not affected by

                                                                                              18 this Order, the AAC APA, or any other agreement between the Trustee, Buyer and/or Wells Fargo,

                                                                                              19 and each leases shall remain in full force and effect until such time that it are otherwise assumed

                                                                                              20 or rejected in accordance with section 365 of the Bankruptcy Code, including but not limited to

                                                                                              21 provisions related to payment of rent for the Prologis Premises.

                                                                                              22 APPROVED AS TO FORM:

                                                                                              23
                                                                                                   GOLDBERG KOHN LTD.
                                                                                              24

                                                                                              25 By:       /s/ Jeremy M. Downs
                                                                                                           Jeremy M. Downs
                                                                                              26           Attorneys for Wells Fargo Bank, National Association
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                                                                                                   ORDER                                           10
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                                                                                               1 FAEGRE DRINKER BIDDLE & REATH LLP

                                                                                               2
                                                                                                   By:     /s/ Marita S. Erbeck
                                                                                               3           Marita S. Erbeck
                                                                                                           Attorneys for Prologis
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                                                                                                   PACHULSKI STANG ZIEHL & JONES LLP
                                                                                               6

                                                                                               7 By:       /s/ John Fiero
                                                                                                           John Fiero
                                                                                               8           Attorneys for AAC Acquisition Company, LLC
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                                                                                                   ROCHELLE MCCULLOUGH, LLP
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                                                                                              12 By:       /s/ Andrew E. Jillson
                                                                                                           Andrew E. Jillson
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                                                                                                           Attorneys for Diageo Brands BV, Diageo
Wendel Rosen LLP




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                                                                                                           North America, Inc., and Diageo Scotland Limited
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                                                                                              16                                       **END OF ORDER**

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                                                                                               1                                 COURT SERVICE LIST

                                                                                               2 No service required.

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Wendel Rosen LLP




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